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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TENNESSEE
                                      EASTERN DIVISION

__________________________________________________________________________________

                                    )
UNITED STATES OF AMERICA,          )
                                    )
            Plaintiff,             )
                                    )
VS.                                )                 CR. NO. 1:17-10105-4-STA
                                    )
KENNETH EDWARD GARRETT,            )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on January 25, 2019, Assistant United States Attorney, Jerry Kitchen,
appearing for the Government and the defendant, Kenneth Edward Garrett, appearing in person, and with
counsel, Jocelyn Henderson.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1s of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, APRIL 30, 2019 at 10:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 25th day of January, 2019.


                                                    s/ S. Thomas Anderson
                                                    CHIEF JUDGE, U. S. DISTRICT COURT
